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                Exhibit 36
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Smith,Daniel A

From:                   Smith,Daniel A
Sent:                   Tuesday, October 12, 2021 6:52 PM
To:                     Richardson,David E
Subject:                RE: disclosure DOI00019899


Hi Dave
I appreciate the update.
Best,
Dan



From: Richardson,David E <der@ufl.edu>
Sent: Tuesday, October 12, 2021 5:20 PM
To: Smith,Daniel A <dasmith@ufl.edu>
Subject: disclosure DOI00019899

Dan,

After our conversation yesterday, I consulted with the General Counsel office and the VP, Office of Government and
Community Relations, regarding the additional information you provided.

The Level 1 decision on the outside activity (DOI00019899) remains disapproved for the reason cited.

Dave

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College of Liberal Arts and Sciences
Professor of Chemistry
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Telephone: 352‐392‐0780
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